         Case 8:17-cr-00383-TDC Document 60 Filed 10/21/20 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND



 UNITED STATES OF AMERICA


                V.



ZEBEDEE JOHNSON,                                         Criminal Action No. TDC-17-0383


        Defendant.




                                 MEMORANDUM OPINION


    - Defendant Zebedee Johnson, a federal prisoner at the Federal Correctional Institution

Allenwood Medium in Wliite Deer, Pennsylvania ("FCI-Allenwood Medium"), has filed an

Emergency Motion for Compassionate Release Pursuant to 18U.S.C. § 3582(c)(l)(A)(i). OnMay

16, 2018, the Court sentenced Johnson to 48 months of imprisonment on his conviction for

distribution of furanyl fentanyl, in violation of 21 U.S.C. § 841(b)(l)(B)(vi). Including pretrial

detention, Johnson has served a total of40 months on his sentence and,and with good time credits,

he is presently scheduled to be released on December 26,2020.

       In his Motion, Johnson seeks a reduction of his sentence to time served under a statutory

provision commonly referred to as the "compassionate release" provision because ofthe COVID-

19 pandemic and the significant health risk that exposure to the coronavirus would pose to him in

light of his various medical conditions. The Government defers to the Court on the resolution of

the Motion.


                                         DISCUSSION


       Ordinarily,"[t]he court may not modify a term ofimprisonment once it has been imposed."

18 U.S.C. § 3582(c) (2018). This general rule is subject to certain exceptions, including the

compassionate release provision, which allows the Bureau of Prisons ("BOP") to seek a
          Case 8:17-cr-00383-TDC Document 60 Filed 10/21/20 Page 2 of 6



modification of a prisoner's sentence. See id. § 3582(c)(1)(A). Under the First Step Act of2018,

Pub. L. No. 115-391,132 Stat. 5194(2018), the compassionate release provision was modified to

also allow prisoners to seek a sentencing reduction directly from the Court. The provision now

provides, in relevant part, that:

        The court may not modify a term ofimprisonment once it has been imposed except
       that:


       (1)     in any case that—

           (A)     the court, upon motion ofthe Director ofthe Biireau ofPrisons, or upon
                   motion of the defendant after the defendant has fully exhausted all
                   administrative rights to appeal a failure of the Bureau of Prisons to
                   bring a motion on the defendant's behalf or the lapse of 30 days from
                   the receipt of such request by the warden of the defendant's facility,
                   whichever is earlier, may reduce the term of imprisonment (and may
                   impose a term of probation or supervised release with or without
                   conditions that does not exceed the unserved portion of the original
                   term ofimprisonment), after considering the factors set forth in section
                   3553(a) to the extent that they are applicable, if it finds that—

                   (i)     extraordinary and compelling reasons warrant such a reduction;

                                          ^       ^




                    and that such a reduction is consistent with applicable policy
                    statements issued by the Sentencing Commission[.]

18 U.S.C. § 3582(c)(1)(A). Wliere Johnson submitted a request for compassionate release to the

Warden of FCI-Allenwood Medium on April 3, 2020, and more than 30 days have elapsed since

that filing, it is undisputed that Johnson has exhausted administrative remedies.

        Johnson argues that the COVID-19 pandemic and his specific vulnerability to COVID-19

based on medical conditions present "extraordinary and compelling reasons" that warrant a

reduction in his sentence to time served. As of October 20, 2020, the pandemic has resulted in

more than40 million cases worldwide and over 1,116,000 deaths. Coronavirus Disease(COVID-

19)Pandemic, World Health Org., https://www.who.int/emergencies/diseases/novel-coronavirus-
          Case 8:17-cr-00383-TDC Document 60 Filed 10/21/20 Page 3 of 6



2019 (last visited Oct. 20, 2020). In the United States, as ofthe same date, it has resulted in over

eight million cases and over 219,000 deaths. Cases in U.S., Ctrs. for Disease Control and

Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last

visited Oct. 20, 2020). In liglit of the shared facilities, the difficulty of social distancing, and

challenges relating to maintaining sanitation, the risk ofinfection and the spread ofinfection within

prisons and detention facilities is particularly high. See Coreas v. Bounds, 451 F. Supp. 407,413

(D. Md. 2020)(citing expert opinions). Accordingly, the Court considers the fact that an inmate

is at high risk for death or severe illness fi:om COVID-19 based on age, medical conditions, or

other factors, particularly when coupled with the fact that the inmate is incarcerated within a prison

in which there is imminent risk of exposure to COVID-19, to establish "extraordinary and

compelling reasons" within the meaning of 18 U.S.C. § 3582(c)(1)(A) that could justify a reduced

sentence or release.


       Here, Johnson, who is 31 years old, asserts that he has a high risk of severe illness fi'om

COVID-19 because of his obesity, asthma, and hypertension. As to obesity, having a body mass

index of over 30 "increases" an individual's risk of severe illness from COVID-19. See People

with    Certain   Medical     Conditions,     Ctrs.   for   Disease    Control    and    Prevention,

https://www.cdc.gOv/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last visited Oct. 20, 2020).

Johnson had a calculated BMI of 32.4 as of March 31, 2020. Individuals with moderate-to-severe

asthma or hypertension "might be at increases risk" for severe illness from COVID-19. Id.

Johnson has a long history of asthma and regularly uses an albuterol inhaler, and he has had
         Case 8:17-cr-00383-TDC Document 60 Filed 10/21/20 Page 4 of 6



hypertension since he was a teenager and takes blood pressure medication. The combination of

tliese conditions place Johnson at high risk for severe illness from COVID-19.

       As ofOctober 20,2020,FCI-Allenwood Medium had 17 active cases ofCOVID-19 among

inmates and 11 active cases among staff, placing it among the top 20 BOP facilities as measured

by   active   inmate    cases.   COVID-19      Coronavirus,    Federal    Bureau    of Prisons,

https://www.bop.gov/coronavirus/ (last visited Oct. 20, 2020). In addition, 92 inmates and one

staff member at that prison have previously had COVID-19 but have now recovered. Id. The fact

that COVID-19 is presently inside FCI-Allenwood Medium illustrates that the present tlireat to

Johnson is real. Taken together, Johnson's high-risk conditions and the meaningful presence of

COVID-19 inside FCI-Allenwood Medium establish extraordinary and compelling reasons that

may warrant a sentence reduction. See 18 U.S.C. § 3582(c)(l)(A)(i).

        A reduced sentence or release based on extraordinary and compelling reasons also requires

consideration of tlie factors in 18 U.S.C. § 3553(a) and an assessment of consistency with

"applicable policy statements issued by the Sentencing Commission." 18 U.S.C. § 3582(c)(1)(A).

The relevant policy statement in the sentencing guidelines permits a reduction based only on

meeting the broad category of"extraordinary and compelling reasons," U.S.S.G. § 1B1.13(1)(A)

& app. note 1(D), which this Court has found. The policy statement also requires a determination

that the prisoner does not present a danger to the community or any other person. U.S.S.G. §

1B1.13(2).

        As to the § 3553(a) factors, the original 48-month sentence appropriately balanced the

nature and circumstances of the offense, the history and characteristics of the defendant, the

purposes of sentencing, and the other relevant factors. Presently, Johnson has served 40 months

on his sentence, or over 83 percent of his total sentence, and he is only two months away from his
          Case 8:17-cr-00383-TDC Document 60 Filed 10/21/20 Page 5 of 6



release date and thus has served over 95 percent ofthe time he otherwise would be incarcerated.

Even accepting the seriousness of the offense and Johnson's prior criminal record, the modest

sentence reduction requested is consistent with tlie § 3553(a) factors because Johnson's

incarceration since the onset of the pandemic in March 2020 has been more severe than under

ordinary circumstances,in particular because he has lived with the specter of contracting COVID-

19 while having conditions that place him at high-risk for death or severe illness from that disease.

Under these circumstances, a slightly shorter sentence is sufficient to meet the purposes of

sentencing, including the needs to reflect the seriousness ofthe offense, to promote respect for the

law, to provide just punishment, and to provide adequate deterrence. Release will also benefit the

remaining prison population,including the staff, by reducing the overall number ofinmates at FCI-

Allenwood Medium during a public health emergency.

        As for whether Johnson presents a danger to any individual or the community, while his

distribution of drugs presented a danger to the community, his prior criminal record consisted

primarily of drug possession and theft charges indicative of his drug addiction. He has no history

of possessing or using firearms. In liglit of the conditions of supervised release requiring that

Johnson undergo substance abuse testing and treatment, and where renewed criminal activity

would expose Jolinson to the significant health risk he faces from COVID-19, the Court does not

find that he presents a danger to the community that would preclude the requested sentence

reduction.


        Under these extraordinary circumstances, the Court finds that a sentence reduction under

18 U.S.C. § 3582(c)(1)(A) is warranted to allow Johnson to be released from FCI-Allenwood

Medium two months earlier than scheduled. Because there are ongoing cases of COVID-19 at
          Case 8:17-cr-00383-TDC Document 60 Filed 10/21/20 Page 6 of 6



FCI-Allenwood Medium, the sentence reduction will be to time served plus 14 days in order to

allow for a period of quarantine, for purposes of public health, before Johnson's release.

                                         CONCLUSION


       For the foregoing reasons, it is hereby ORDERED that Johnson's Emergency Motion for

Compassionate Release Pursuant to 18 U.S.C. § . 3582(c)(l)(A)(i), EOF No. 58, will be

GRANTED. A separate Order shall issue.




Date: October 21,2020
                                                     THEODORE D. Cl
                                                     United States Dist
